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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

 Civil Action No. 20-cv-02172

 LINDSAY MINTER,
 PASTOR THOMAS MAYES,
 KRISTIN MALLORY,
 TYLER SPRAGUE, and
 ALISSIA ACKER, on behalf of themselves, and others similarly situated,

        Plaintiffs,

 v.

 CITY OF AURORA, COLORADO,
 INTERIM POLICE CHIEF VANESSA WILSON, in her official and individual capacities,
 F/N/U RODRIGUEZ, in her or his individual capacity,
 JOHN & JANE DOES 1-100, in their individual capacities,
 JOHN & JANE BOES 1-25, in their individual capacities,
 JOHN & JANE FOES 1-31, in their individual capacities,
 JOHN & JANE MOES, 1-16, in their individual capacities,

       Defendants.
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                      NOTICE OF ENTRY OF APPEARANCE
  _____________________________________________________________________________

        Mari Newman of the law firm of KILLMER, LANE & NEWMAN, LLP, an attorney duly

 licensed to practice before this Court, hereby enters her appearance on behalf of all Plaintiffs.

        DATED this 23rd day of July 2020.
                                               KILLMER, LANE & NEWMAN, LLP

                                               s/ Mari Newman
                                               __________________________
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